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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS


AMERICAN FEDERATION INSURANCE
COMPANY,

                          Plaintiff,                     Case No.:
v.

NUKA ENTERPRISES, LLC; and GEORGE
TSITIRIDIS
               Defendants.


                        COMPLAINT FOR DECLARATORY JUDGMENT

         NOW COMES the Plaintiff, AMERICAN FEDERATION INSURANCE COMPANY

(“AmFed”) by and through their attorneys, Lewis Brisbois Bisgaard & Smith LLP, and for their

Complaint for Declaratory Relief against Defendants, NUKA ENTERPRISES, LLC (“NUKA”)

and GEORGE TSITIRIDIS (“TSITRIDIS”), for the purpose of seeking a determination of the

respective rights of the parties under insurance policies issued to NUKA for claims alleged in a

Complaint at Law seeking bodily injury damages arising from the of the manufacture and

distribution of products containing marijuana, state as follows:

                                       STATEMENT OF CASE

         1.        This is an action for declaratory judgment for the purpose of determining an actual

controversy between the parties, construing the rights and legal obligations arising under two

insurance contracts issued by AmFed, where NUKA is claiming coverage as a named insured.

AmFed seeks a declaration from this Court that they owe no obligation under the subject policies

of insurance with respect to NUKA’s alleged liability for a complaint at law that is currently

pending in the Circuit Court of Cook County, and styled as George Tsitridis, individually, and on

behalf of all others similarly situated v. Nuka Enterprises, LLC, cause no. 2022CHL06258,




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alleging bodily injury resulting from the manufacture and distribution of certain marijuana

containing products (the “Underlying Complaint”). See Underlying Complaint attached hereto

and made a part hereof as Exhibit A.

       2.      AmFed received notice of the Underlying Complaint in which NUKA sought

coverage for any defense fees and damages that might arise from the allegations asserted in the

Underlying Complaint up to the liability limits of the policies at issue totaling $5,000,000,

collectively, for each occurrence.

       3.      On or about June 29, 2022, the Underlying Complaint was filed in the Circuit Court

of Cook County, Illinois as a class action.

       4.      On or about December 22, 2022, AmFed disclaimed coverage for the claims alleged

against NUKA in the Underlying Complaint. See Disclaimer Letter attached hereto as Exhibit

B.

                                          THE PARTIES

       5.      AmFed is an insurer organized under California law and domiciled in the State of

Texas with its principal place of business in the State of California.

       6.      Upon information and belief, NUKA is a Colorado limited liability company with

its principal place of business located in the State of Colorado. NUKA’s member is Peter Barsoom

who is a citizen of the State of New York. NUKA’s registered agent is Peter Barsoom who can

be served at 9690 Dallas St. Unit A, Commerce City, CO 80640-8484.

       7.      Upon information and belief, GEORGE TSITIRIDIS (“TSITIRIDIS”) is a natural

person residing in the County of Cook, State of Illinois and is named as an interested party to be

bound by the judgment herein.




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       8.      This is a diversity action seeking a declaration of no coverage under certain

insurance policies issued to NUKA for a class action complaint filed in the Circuit Court of Cook

County, Illinois.

                                 JURISDICTION AND VENUE

       9.      This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332 because there is

complete diversity and the amount in controversy, the combined liability limit of the subject

insurance policies, exceeds $75,000.

       10.     An actual controversy exists, and as such, pursuant to 28 U.S.C. § 2201, this Court

has jurisdiction to adjudicate the rights and obligations of the parties.

       11.     Venue is proper, pursuant to 28 U.S.C. § 1391, as Defendant NUKA conducts

business in and Defendant TSITIRIDIS resides in Cook County, Illinois; NUKA’s demand for a

defense is to be provided in Cook County, Illinois; and the complained-of injury sustained by

TSITIRIDIS for which NUKA seeks indemnification occurred in Cook County, Illinois.

                                 THE INSURANCE POLICIES

       12.     AmFed issued two Commercial General Liability primary policies under policy

numbers AFGL-CO-00641-00 and AFGL-CO-00641-01 with a combined liability period of

December 29, 2020 to December 29, 2022, collectively, and a liability limit of $1,000,000 for each

occurrence and $2,000,000 in the aggregate for each policy period (“Primary Policies”). See

Primary Policies attached hereto as Exhibit C.

       13.     AmFed also issued two Excess Policies under policy numbers AFXS-CO-00642-

00 and AFXS-CO-00642-01 to NUKA effective from December 29, 2020 to December 29, 2022,

collectively, with a liability limit of $4,000,000 (the “Excess Policies”) in excess of the Primary

Policies for each yearly policy period. See Excess Policies attached hereto as Exhibit D.




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       14.     As used herein, the Primary Policies and the Excess Policies collectively are

referred to as “the Policies.”

       15.     The Primary Policies’ Coverage A provides that AmFed “will pay those sums that

the insured becomes legally obligated to pay as damages because of “bodily injury” or “property

damage” to which this insurance applies. [AmFed has] the right and duty to defend the insured

against any ‘suit’ seeking those damages.” See Exhibit C.

       16.     The Primary Policies’ Coverage B provides that AmFed “will pay those sums that

the insured becomes legally obligated to pay as damages because of "personal and advertising

injury" to which this insurance applies. [AmFed has] the right and duty to defend the insured

against any ‘suit’ seeking those damages.” See Exhibit C.

       17.     The Primary Policies contain the following definitions:

       1.      “Advertisement” means a notice that is broadcast or published to the general
               public or specific market segments about your goods, products or services
               for the purpose of attracting customers or supporters. For the purposes of
               this definition:
               a.      Notices that are published include material placed on the Internet or
                       on similar electronic means of communication; and
               b.      Regarding web sites, only that part of a web site that is about your
                       goods, products or services for the purposes of attracting customers
                       or supporters is considered an advertisement.

       3.      “Bodily injury” means bodily injury, sickness or disease sustained by a
               person, including death resulting from any of these at any time.

       14.    “Personal and advertising injury” means injury, including consequential
              “bodily injury”, arising out of one or more of the following offenses:
              a.      False arrest, detention or imprisonment;
              b.      Malicious prosecution;
              c.      The wrongful eviction from, wrongful entry into, or invasion of the
                      right of private occupancy of a room, dwelling or premises that a
                      person occupies, committed by or on behalf of its owner, landlord
                      or lessor;
              d.      Oral or written publication, in any manner, of material that slanders
                      or libels a person or organization or disparages a person’s or
                      organization’s goods, products or services;




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       e.       Oral or written publication, in any manner, of material that violates
                a person’s right of privacy;
       f.       The use of another’s advertising idea in your “advertisement”; or
       g.       Infringing upon another’s copyright, trade dress or slogan in your
                “advertisement.”


 16.    “Products-completed operations hazard”:
        a. Includes all “bodily injury” and “property damage” occurring away
            from premises you own or rent and arising out of “your product” or
            “your work” except:
            (1)      Products that are still in your physical possession; or
            (2)      Work that has not yet been completed or abandoned.

        However, “your work” will be deemed completed at the earliest of the
        following times:
             (a) When all of the work called for in your contract has been
                 completed.
             (b) When all of the work to be done at the job site has been completed
                 if your contract calls for work at more than one job site.
             (c) When that part of the work done at a job site has been put to its
                 intended use by any person or organization other than another
                 contractor or subcontractor working on the same project.

             Work that may need service, maintenance, correction, repair or
             replacement, but which is otherwise complete, will be treated as
             completed.

        b.    Does not include “bodily injury” or “property damage” arising out of:
             (1) The transportation of property, unless the injury or damage arises
                 out of a condition in or on a vehicle not owned or operated by you,
                 and that condition was created by the “loading or unloading” of that
                 vehicle by any insured;
             (2) The existence of tools, uninstalled equipment or abandoned or
                 unused materials; or
             (3) Products or operations for which the classification, listed in the
                 Declarations or in a policy Schedule, states that products completed
                 operations are subject to the General Aggregate Limit.

 17.    “Property damage” means:
        a.     Physical injury to tangible property, including all resulting loss of
               use of that property. All such loss of use shall be deemed to occur at
               the time of the physical injury that caused it; or
        b.     Loss of use of tangible property that is not physically injured. All
               such loss of use shall be deemed to occur at the same time of the
               “occurrence” that caused it.




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             For the purposes of this insurance, electronic data is not tangible property.

             As used in this definition, electronic data means information, facts or
             programs stored as or on, created or used on, or transmitted to or from
             computer software, including systems and applications software, including
             systems and applications software, hard or floppy disks, CD-ROMs, tapes,
             drives, cells, data processing devises or any other media which are used with
             electronically controlled equipment.

      18.    “Suit” means a civil proceeding in which damages because of “bodily
             injury”, “property damage” or “personal and advertising injury” to which
             this insurance applies are alleged. “Suit” includes:
             a.      An arbitration proceeding in which such damages are claimed and
                     to which the insured must submit or does submit with our consent;
                     or
             b.      Any other alternative dispute resolution proceeding in which such
                     damages are claimed and to which the insured submits with our
                     consent.

      21.    “Your Product”
             a.    Means:
                   (1) Any goods or products, other than real property,
                        manufactured, sold, handled, distributed or disposed of by:
                          (a) You;
                          (b) Others trading under your name; or
                          (c) A person or organization whose business or assets you
                          have acquired; and
                   (2)    Containers (other than vehicles), materials, parts or
                          equipment furnished in connection with such goods or
                          products.

             b.     Includes:
                    (1) Warranties or representations made at any time with respect to
                        the fitness, quality, durability, performance or use of “your
                        product”; and
                    (2) The providing of or failure to provide warnings or instructions.

             c.     Does not include vending machines or other property rented to or
                    located for the use of others but not sold.

See Exhibit C.

      19.    The Policies also include the following exclusion:

      Coverage B insurance does not apply to:




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      g.      Quality or Performance of Goods – Failure to Conform to Statements

      “Personal and advertising injury” arising out of the failure of goods, products or
      services to conform with any statement of quality or performance made in your
      “advertisement”.

See Exhibit C.

      20.     The Policies also include the following endorsements:

           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                              CAREFULLY.

           EXCLUSION – PRODUCTS-COMPLETED OPERATIONS HAZARD

      This endorsement modifies insurance provided under the following:

              COMMERCIAL GENERAL LIABILITY COVERAGE PART

      This insurance does not apply to “bodily injury” or “property damage” included
      within the “products-completed operations hazard”.

                                              ***

           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                              CAREFULLY.

            COMBINATION GL ENDORSEMENT – NON CONTRACTORS

      This endorsement modifies insurance provided under the following:

              COMMERCIAL GENERAL LIABILITY COVERAGE PART

      The following are added to SECTION I-COVERAGES, COVERAGE A
      BODILY INJURY AND PROPERTY DAMAGE, subsection 2. Exclusions;
      and COVERAGE B PERSONAL AND ADVERTISING INJURY
      LIABILITY, subsection 2. Exclusions: In consideration of the premium charged
      this insurance does not apply to, and there is no duty on us to defend you for,
      “bodily injury”, “property damage”, “personal injury”, “advertising injury”,
      medical payments or any injury, loss or damages, including consequential injury,
      disease or illness, alleged disease or illness, “suit”, expense or any other damages,
      for past, present or future claims arising out of, caused by or contributed to:

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       C. Fines, Penalties, Punitive or Exemplary Damages: by fines, penalties,
          punitive or exemplary damages.
          Nor are any expenses or any obligation to share or repay such fines, penalties
          or damages with, or to, others.

                                                ***

       F. Advertising Injury/Intellectual Property Infringement: by intellectual
          property, proprietary property rights, patent, trademark and/or copyright
          infringement, misappropriation of trade secret and/or practice, piracy,
          fraudulent concealment, unjust enrichment, misrepresentation or negligent
          misrepresentation; and/or deceptive, false, fraudulent, misleading, unfair,
          unlawful or untrue business act or practice with respect to advertising.

                                                ***

       H. Criminal, Fraudulent, Dishonest or Malicious Acts: by criminal acts,
          fraudulent, dishonest, or malicious acts or omissions by any insured, any
          employee, leased worker, temporary worker, casual labor, 1099 worker,
          uninsured subcontractor or volunteer of any insured or anyone for whom you
          may be held liable.


See Exhibit C.

       21.     The Excess Policies provide that excess coverage “will follow the same provisions,

exclusions and limitations that are contained in the applicable ‘controlling underlying insurance’,

unless otherwise directed by this insurance.” See Exhibit D.

       22.     The insuring agreement of the Excess Policies states that AmFed “will pay on

behalf of the insured the ‘ultimate net loss’ in excess of the ‘retained limit’ because of ‘injury or

damage’ to which insurance provided under this Coverage Part applies.” See Exhibit D.

       23.     The Excess Policies provide the following definitions:

           1. “Controlling underlying insurance” means any policy of insurance or self-
       insurance listed in the Declarations under the Schedule of “controlling underlying
       insurance”.

          3. “Event” means an occurrence, offense, accident, act, or other event, to
       which the applicable “controlling underlying insurance” applies.




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          4. “Injury or damage” means any injury or damage, covered in the applicable
       “controlling underlying insurance” arising from an “event”.

           5. “Retained limit” means the available limits of “controlling underlying
       insurance” applicable to the claim.

           6. “Ultimate net loss” means the total sum, after reduction for recoveries, or
       salvages collectible, that the insured becomes legally obligated to pay as damages
       by reason of:

             a. Settlements, judgment, binding arbitration; or
             b. Other binding alternate dispute resolution proceeding entered into with our consent.

See Exhibit D.

       24.      The Declarations page of the Excess Policies identifies the Primary Policies as the

“Controlling Underlying Insurance”. See Exhibit D.

                                THE UNDERLYING LAWSUIT

       25.      On or about June 29, 2022, TSITIRIDIS filed a class action complaint in the Circuit

Court of Cook County, Illinois bearing Court No. 2022CH06258 against NUKA ENTERPRISES,

LLC (the “Underlying Complaint”). See Exhibit A.

       26.      In the Underlying Complaint, TSITIRIDIS alleges NUKA manufactures, markets,

advertises, distributes and sells a cannabis infused edible product, 1906 Edibles Midnight Drops

(“Product”) in Arizona, Colorado, Illinois, Massachusetts, Michigan and Oklahoma and that this

cannabis product contains a chemical compound tetrahydropalmatine (“THP”) that allegedly

causes liver damage. See Exhibit A.

       27.      The Underlying Complaint alleges NUKA falsely marketed and advertised the

Product had health, medicinal and therapeutic benefits but failed to warn consumers of the Product

containing THP; failed to warn of possible liver damage when the Product is used and consumed

as directed; and/or misrepresented the Product’s safety in its design, labeling, marketing, and/or

advertising. See Exhibit A.




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       28.     The Underlying Complaint alleges TSITIRIDIS began purchasing and consuming

the Product in or around June 2021 and consumed the Product, as directed on the product label,

through October 2021 when he discovered he had sustained liver damage which he alleges is

attributable to his consumption of the NUKA manufactured and marketed cannabis product. See

Exhibit A.

       29.      The Underlying Complaint alleges the pleading was filed on behalf of all similarly

situated persons who purchased and/or consumed the Product in Arizona, Colorado, Illinois,

Massachusetts, Michigan, and Oklahoma. See Exhibit A.

       30.     The Underlying Complaint seeks compensatory, punitive, statutory and injunctive

relief as a result of NUKA’s design, manufacture and labeling of the Product which is allegedly

distributed in Arizona, Colorado, Illinois, Massachusetts, Michigan and Oklahoma.

              COUNT I – NO COVERAGE FOR PRODUCTS-COMPLETED
                             OPERATIONS HAZARD

       1-30. AmFed repeats and realleges as though fully set forth herein, Paragraphs 1 through

30 of the General Allegations as Paragraphs 1 through 30 inclusive of this Count I and further

states as follows:

       31.     The Primary Policies’ Endorsement explicitly excludes coverage for “bodily

injury” or “property damage” included within the “products-completed operations hazard”.

       32.     The Primary Policies identifies the “products-completed operations hazard” as

including all “bodily injury” and “property damage” occurring away from premises NUKA owns

or rents and arising out of NUKA’s “product” which is defined as any goods or products, other

than real property, manufactured, sold, handled, distributed or disposed of by NUKA or containers

(other than vehicles), materials, parts or equipment furnished in connection with such goods or

products including warranties or representations as to the fitness, quality, durability, performance




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or use of NUKA’s “product” as well as NUKA’s providing of or failure to provide warnings or

instructions.

         33.    The Underlying Complaint alleges the Product designed, manufactured and

distributed by NUKA was designed and labeled to be a health product but was sold without a an

appropriate warning.

         34.    The Underlying Complaint alleges TSITIRIDIS suffered liver damage as a result

of consuming the Product.

         35.    The Underlying Complaint seeks to certify a class of all persons similarly situated

that consumed the Product that did not include a warning label in Arizona, Colorado, Illinois,

Massachusetts, Michigan, and Oklahoma.

         36.    Pursuant to the terms, conditions and definitions of the Primary Policies, which are

followed by the Excess Policies, the Product is considered NUKA’s product which also includes

NUKA’s labeling of or failure to label the Product and is encompassed in the Primary Policies’

definition of a products-completed operations hazard.

         37.    The Products-Completed Operations Hazard Exclusion explicitly precludes

coverage under the Commercial General Liability Part for any bodily injury included within the

“products-completed operations hazard.” See Exhibit C.

         38.    Coverage for the injury and damages alleged in the Underlying Complaint is

precluded by the Products-Completed Operations Hazard Exclusion found in the Primary Policies

and followed by the Excess Policies.

         39.    Because the Primary Policies’ Coverage B is not implicated, the Excess Policies –

which follow the coverages of the Primary Policies – are likewise not applicable. See Exhibits C

and D.




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       WHEREFORE, Plaintiff, American Federation Insurance Company, respectfully requests

this Honorable Court find and declare as follows:

       a.      The Products-Completed Operations Hazard exclusion found in the Primary
               Policies and followed by the Excess Policies applies to the allegations and claims
               of the Underlying Complaint;

       b.      PLAINTIFF has no duty to defend or indemnify NUKA under the Policies for the
               injury and damages alleged in the Underlying Complaint by reason of the Products-
               Completed Operations Hazard Exclusion; and

       c.      Any other relief this Court deems just and equitable.

                           COUNT II – NO ADVERTISING INJURY

       1-30. AmFed repeats and realleges as though fully set forth herein, Paragraphs 1 through

30 of the General Allegations as Paragraphs 1 through 30 inclusive of this Count II and further

states as follows:


       31.     The Primary Policies provide coverage for certain advertising injuries that involve:

(1) the oral or written publication of material that slanders or libels a person or organization or

disparages a person’s or organization’s goods, products or services; (2) the oral or written

publication of material that violates a person’s right of privacy; (3) the use of another’s advertising

idea in your “advertisement”; or (4) the infringement upon another’s copyright, trade dress or

slogan in the insured’s “advertisement.” See Exhibit C.

       32.     The Underlying Complaint does not allege: (1) NUKA’s website or the Product’s

packaging or labeling slanders or libels a person or organization or disparages a person’s or

organization’s goods, products or services; (2) NUKA’s website or the Product’s packaging or

labeling violates any person’s right of privacy; (3) NUKA’s website or the Product’s packaging or

labeling uses another’s advertising idea in NUKA’s “advertisement”; or (4) NUKA’s website or




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the Product’s packaging or labeling infringes upon another’s copyright, trade dress or slogan in

NUKA’s “advertisement”. See Exhibit A.

       33.     None of the Primary Policies’ enumerated advertising injuries that would be subject

to coverage under the Policies are alleged in the Underlying Complaint and therefore the Primary

Policies’ Coverage B is not implicated by the allegations and claims raised in the Underlying

Complaint. See Exhibits A and C.

       34.     Because the Primary Policies’ Coverage B is not implicated, the Excess Policies –

which follow the form and coverages of the Primary Policies – are likewise not applicable. See

Exhibit C.

       WHEREFORE, Plaintiff, American Federation Insurance Company, respectfully requests

this Honorable Court find and declare as follows:

       a.      Coverage B of the Primary Policies is not implicated by any advertising allegations
               and claims raised in the Underlying Complaint;

       b.      The Excess Policies which follow the terms and coverages of the Primary Policies
               are likewise not implicated by any advertising allegations and claims raised in the
               Underlying Complaint;

       c.      PLAINTIFF has no duty under the Policies to defend or indemnify NUKA for any
               advertising claims and damages alleged in the Underlying Complaint; and

       d.      Any other relief this Court deems just and equitable.


  COUNT III – NO COVERAGE BY EXCLUSIONS CONTAINED IN THE POLICIES

       1-30. AmFed repeats and realleges as though fully set forth herein, Paragraphs 1 through

30 of the General Allegations as Paragraphs 1 through 30 inclusive of this Count III and further

states as follows:


       31.     Coverage under the Primary Policies’ Coverage B pertaining to “Personal and

Advertising Injury” is precluded by the Failure to Conform Exclusion which excludes coverage



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for personal and advertising injury, as defined by the Primary Policies, arising out of the failure of

goods, products or services to conform with any statement of quality or performance made in the

insured’s “advertisement”. See Exhibit C.

       33.     The Underlying Complaint alleges NUKA falsely advertised that the Product was

all-natural, “pharma-grade”, safe and effective but the Product failed to conform to those

statements. See Exhibit A.

       34.     To the extent the Underlying Complaint alleges NUKA’s products failed to

conform as advertised, such liability is precluded from coverage by the Failure to Conform

Exclusion.

       35.     Because the Primary Policies’ Coverage B is excluded, the Excess Policies – which

follow the form and coverages of the Primary Policies – are likewise not applicable. See Exhibits

C and D.

       36.     Coverage under the Primary Policies’ Coverage A pertaining to “bodily injury” and

Coverage B pertaining to “advertising injury” is precluded by the Criminal, Fraudulent, Dishonest

or Malicious Acts Exclusion which precludes coverage for bodily injury and advertising injury

arising out of, caused by or that contributed to “criminal acts, fraudulent, dishonest or malicious

acts or omissions by any insured, any employee, leased worker, temporary worker, casual labor,

1099 worker, uninsured subcontractor or volunteer of any insured or anyone for whom you may

be liable.” See Exhibit C.

       37.     The Underlying Complaint alleges bodily injury and/or damages from the Product’s

advertising as a result of NUKA’s deceptive misrepresentations and omissions of material fact that

were “immoral”, “unethical” and “unscrupulous” which deceived TSITIRIDIS and the class into




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purchasing the Product that “they would not have purchased had they known the truth.” See

Exhibit A.

       38.     To the extent that TSITIRIDIS and the class’s bodily injury and damages arise out

of, contribute to or are otherwise caused by NUKA’s fraudulent or dishonest conduct, such injury

and damages are precluded from coverage under the Policies.

       39.     Because the Primary Policies’ coverage is excluded by the Criminal, Fraudulent,

Dishonest or Malicious Acts Exclusion, the Excess Policies – which follow the form and coverages

of the Primary Policies – are likewise not applicable. See Exhibits C and D.

       40.     Coverage under the Primary Policies’ Coverage A pertaining to “bodily injury” and

Coverage B pertaining to “advertising injury” is precluded by the Advertising Injury/Intellectual

Property Infringement Exclusion which precludes coverage for bodily injury and advertising injury

arising out of, caused by or that contributed to “deceptive, false, fraudulent, misleading, unfair,

unlawful or untrue business act or practice with respect to advertising.” See Exhibit C.

       41.     The Underlying Complaint alleges bodily injury and damages as a result of

NUKA’s violations of certain consumer protection laws prohibiting “deceptive, unlawful, unfair,

or fraudulent business acts or practices” related to its advertising and marketing of the Product.

See Exhibit A.

       42.     To the extent TSITIRIDIS and the class’s bodily injury and damages arise out of,

contribute to or are otherwise caused by NUKA’s deceptive, fraudulent, misleading, unlawful,

unfair or untrue business acts or practices with respect to its advertising or marketing of the

Product, such injury and damages are precluded from coverage under the Policies.




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       43.    Because the Primary Policies’ coverage is excluded by the Advertising

Injury/Intellectual Property Infringement Exclusion, the Excess Policies – which follow the form

and coverages of the Primary Policies – are likewise not applicable. See Exhibits C and D.

       WHEREFORE, Plaintiff, American Federation Insurance Company, respectfully requests

this Honorable Court find and declare as follows:

       a.     The Failure to Conform Exclusion, as provided in the Primary Policies and
              followed by the Excess Policies, applies and preludes coverage for those
              allegations, claims or damages raised in the Underlying Complaint related to the
              Product’s failure to conform to any representations made in NUKA’s advertising
              and/or labeling of the Product;

       b.     PLAINTIFF has no duty under the Policies to defend or indemnify NUKA for any
              allegation, claims or damages raised in the Underlying Complaint that the Product
              failed to conform to NUKA’s advertising and/or labeling of the Product;

       c.     The Criminal, Fraudulent, Dishonest or Malicious Acts Exclusion as provided in
              the Primary Policies and followed by the Excess Policies, applies and precludes
              coverage for those allegations, claims or damages raised in the Underlying
              Complaint related to NUKA’s fraudulent and/or dishonest acts;

       d.     PLAINTIFF has no duty under the Policies to defend or indemnify NUKA for any
              allegations, claims or damages raised in the Underlying Complaint that arise out of,
              contribute to or are otherwise caused by NUKA’s fraudulent and/or dishonest acts;

       e.     The Advertising Injury/Intellectual Property Infringement Exclusion as provided in
              the Primary Policies and followed by the Excess Policies, applies and preludes
              coverage for those allegations, claims or damages raised in the Underlying
              Complaint related to NUKA’s deceptive, unlawful, unfair or untrue business acts
              or practices with respect to its advertising and/or marketing of the Product;

       f.     PLAINTIFF has no duty under the Policies to defend or indemnify NUKA for any
              allegations, claims or damages raised in the Underlying Complaint that arise out of,
              contribute to or are otherwise caused by NUKA’s deceptive, unlawful, unfair or
              untrue business acts or practices with respect to its advertising and/or marketing of
              the Product; and

       g.     Any other relief this Court deems just and equitable.


              COUNT IV – NO COVERAGE FOR DAMAGES THAT ARISE
                       OUTSIDE OF THE POLICY PERIOD




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       1-30. AmFed repeats and realleges as though fully set forth herein, Paragraphs 1 through

30 of the General Allegations as Paragraphs 1 through 30 inclusive of this Count IV and further

state as follows:


       31.     The Policies have an effective period of December 29, 2020 to December 29, 2022.

See Exhibits C and D.

       32.     The Underlying Complaint identifies the class members as comprising all persons

who purchased and/or consumed the Product in Arizona, Colorado, Illinois, Massachusetts,

Michigan, and Oklahoma without any date limitation.

       33.     To the extent it is determined any class members’ injury or damage arose outside

of the stated effective period, there is no coverage for those damages.

       WHEREFORE, Plaintiff, American Federation Insurance Company, respectfully requests

this Honorable Court find and declare as follows:

       a.      The Policies only provide coverage for injury and damage that occur during the
               effective period of the Policies;

       b.      PLAINTIFF has no duty to defend or indemnify NUKA for any injury and damages
               that arose outside of the effective dates of the Policies; and

       c.      Any other relief this Court deems just and equitable.

                    COUNT V – NO COVERAGE FOR PUNITIVE DAMAGES

       1-30. AmFed repeats and realleges as though fully set forth herein, Paragraphs 1 through

30 of the General Allegations as Paragraphs 1 through 30 inclusive of this Count V and further

state as follows:


       31.     The Primary Policies’ “Combination GL Endorsement – Non Contractors”

explicitly provides the Primary Policies do not apply to “bodily injury”, “property damage”,




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“personal injury”, “advertising injury”, medical payments or any injury, loss or damages, including

consequential injury, disease or illness, alleged disease or illness, “suit”, expense or any other

damages, for past, present or future claims arising out of, caused by or contributed to by fines,

penalties, punitive or exemplary damages as well as any expenses or any obligation to share or

repay such fines, penalties or damages with, or to, others. See Exhibit C.

       32.     Because the Primary Policies’ coverage for punitive damages is excluded by the

Combination GL – Non Contractors Endorsement, the Excess Policies – which follow the form

and coverages of the Primary Policies – likewise exclude coverage for punitive damages. See

Exhibits C and D.

       32.     The Underlying Complaint seeks punitive damages on behalf of TSITIRIDIS as

well as all those similarly situated. See Exhibit A.

       33.     The Policies explicitly preclude coverage for all punitive damages alleged in the

Underlying Complaint. See Exhibits C and D.

       WHEREFORE, Plaintiff, American Federation Insurance Company, respectfully requests

this Honorable Court find and declare as follows:

       a.      The Punitive Damages Exclusion contained in the Primary Policies’ Combination
               GL Endorsement – Non Contractors and followed by the Excess Policies applies to
               the claims of punitive damages alleged in the Underlying Complaint;

       b.      PLAINTIFF has no duty to indemnify NUKA under the Policies should any
               punitive damages ultimately be awarded in the Underlying Complaint by reason of
               the Punitive Damages Exclusion contained in the Combination GL Endorsement –
               Non Contractors; and

       c.      Any other relief this Court deems just and equitable.




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Date: December 22, 2022


                                       By: Danny L. Worker
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